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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


      UNITED STATES, et al.,

                          Plaintiffs,
            v.
                                                        No: 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                          Defendant.


           NON-PARTY LINKEDIN CORPORATION’S MEMORANDUM OF LAW
                      IN SUPPORT OF MOTION TO REDACT
           Pursuant to Local Rule 5(C) and the Court’s June 24, 2024 Order, ECF No. 871, non-party

  LinkedIn Corporation (“LinkedIn”) respectfully submits this memorandum of law in support of its

  contemporaneously filed Motion to Redact (“Motion”). For the reasons that follow, LinkedIn

  hereby objects to the public disclosure of DTX 2221 and DTX 1991, which are included on

  Google’s trial exhibit list and are designated “Highly Confidential.” See ECF No. 894. LinkedIn

  has narrowly tailored this request to fully redact or seal one document on Google’s trial exhibit

  list, DTX 22211, and redact a single row of information from another document, DTX 19912, which

  contain financial data reflecting highly sensitive non-public financial information and would

  expose LinkedIn to competitive harm. LinkedIn also attaches the Declaration of Abhishek

  Shrivastava in support of its Motion.


  1
         A redacted version of DTX 2221 is attached hereto as Exhibit A. Pursuant to Local Civil
  Rule 5, unredacted versions of the same are separately being filed under seal.
  2
         A redacted version of DTX 1991 is attached hereto as Exhibit B. Unredacted versions of
  these exhibits are not available to LinkedIn because they are documents prepared by Google that
  contain the Highly Confidential information of other third parties, in addition to LinkedIn’s Highly
  Confidential information. As such, unredacted versions of DTX 1991 have not been shared with
  LinkedIn.


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         For the reasons stated below, LinkedIn respectfully requests that the Court fully redact or

  seal DTX 2221 and redact DTX 1991. LinkedIn further requests that, to the extent DTX 2221 or

  DTX 1991 are presented at trial, the competitively sensitive and highly confidential LinkedIn data

  not be shown on public screens and that any testimony discussing or relating to the underlying data

  be conducted in closed session.

           I.      LEGAL STANDARD

         While there is a common law presumption of access to trial proceedings and judicial

  records, sealing of judicial records is appropriate when “competing interests outweigh the interest

  in access.” Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir. 1988). Courts

  have found that this presumption of public access is overcome where documents contain sensitive

  and confidential business information that could cause competitive harm. See, e.g., Fed. Trade

  Comm’n v. Syngenta Crop Prot. AG, 695 F. Supp. 3d 701, 706-07 (M.D.N.C. 2023) (granting

  motion to seal confidential business information); Solomon v. Am. Web Loan, Inc., No. 17-CV-

  145, 2020 WL 13894410, at *2 (E.D. Va. Oct. 15, 2020) (granting motion to seal “confidential

  commercial information that concern matters . . . normally unavailable to the public and not of

  general interest to the public.”); Intelligent Verification Sys., LLC v. Microsoft Corp., No. 12-CV-

  525, 2015 WL 13036877, at *1 (E.D. Va. Feb. 6, 2015) (granting motion to seal “sensitive business

  information”).

         Specifically, courts in this Circuit grant motions to seal or redact where documents

  implicate sensitive financial data. See e.g., Jones v. Lowe’s Companies, Inc., 402 F. Supp. 3d 266,

  291–92 (W.D.N.C. 2019) (sealing deposition testimony that discussed financial data); Silicon

  Knights, Inc. v. Epic Games, Inc., No. 5:07-CV-275-D, 2011 WL 901958, at *2 (E.D.N.C. Mar.

  15, 2011) (granting motion to seal “sensitive financial and business information”). For instance,




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  courts will grant motions to seal where documents contain gross profit or revenue data. See e.g.,

  E. W., LLC v. Rahman, No. 11-CV-1380, 2012 WL 3841401, at *3 (E.D. Va. Sept. 4, 2012)

  (granting motion to seal “sensitive financial data, including gross profit data”); Flexible Benefits

  Council v. Feltman, No. 20- CV-1450, 2008 WL 4924711, at *1 (E.D. Va. Nov. 13, 2008)

  (granting motion to seal “sensitive financial information . . . including 15 years of revenue data.”).

         Under established Fourth Circuit precedent, there are three requirements for sealing or

  redacting court filings: (1) public notice with an opportunity to object; (2) consideration of less

  drastic alternatives to redacting or sealing of the document; and (3) a statement of specific findings

  in support of a decision to redact or seal and rejecting alternatives to redaction or sealing. See

  Globus Medical, Inc. v. Jamison, No. 2:22-cv-00282, 2023 WL 4937386, at *2 (E.D. Va. Jan. 13,

  2023) (citing Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000)).

           II.   ARGUMENT

         Here, all three requirements are met.

         First, LinkedIn is filing public notice of its Motion to Redact contemporaneous with this

  Memorandum of Law. The Court’s June 24, 2024 Order provides an opportunity to object to

  LinkedIn’s sealing request by August 2, 2024. ECF No. 871. Based on the forgoing, the public

  notice requirement pursuant to governing law in this Circuit, Federal Rule of Civil Procedure

  5.2(d), and Local Civil Rule 5 has been met.

         Second, there is no less drastic alternative than fully redacting or sealing DTX 2221 and

  redacting DTX 1991. LinkedIn’s redaction request is narrow and discrete because it is limited to




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  two documents on Google’s trial exhibit list, which contain detailed financial information that

  would harm LinkedIn if publicly disclosed.3 See Shrivastava Decl. ¶ 2-3.

         Third, LinkedIn represents that DTX 2221 and DTX 1991 contain highly sensitive financial

  information. LinkedIn is not a party to these proceedings, and as described in the accompanying

  Shrivastava Declaration, compelling reasons exist to redact or seal this information. Notably, both

  DTX 2221 and DTX 1991 contain LinkedIn’s specific revenue derived from advertising. See e.g.,

  Shrivastava Decl. ¶ 2; Rahman, 2012 WL 3841401, at *3 (granting motion to seal “sensitive

  financial data, including gross profit data”); Flexible Benefits Council, 2008 WL 4924711, at *1

  (granting motion to seal “sensitive financial information . . . including 15 years of revenue data.”).

  Disclosure of this information would cause competitive harm to LinkedIn for multiple reasons.

  First, access to this information could allow a competitor to access highly sensitive information

  relating to LinkedIn’s advertising revenue. This could harm LinkedIn in head-to-head competition

  for advertisers. See Shrivastava Decl. ¶ 2. Second, DTX 2221 would reveal the volume of

  advertising transactions that LinkedIn enters into, which is also sensitive information that would

  cause competitive harm to LinkedIn if accessed by a competitor. Id. Indeed, disclosure of the

  sheer number of spreadsheet rows in DTX 2221 alone would constitute disclosure of confidential

  information that could be used by LinkedIn’s competitors and potential competitors to replicate

  LinkedIn’s advertising strategies and harm LinkedIn.




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          LinkedIn requests that DTX 2221 be fully redacted or sealed in its entirety. DTX 2221 is
  an excel spreadsheet that lists impressions, clicks, revenue, and net revenue from specific
  advertisements. Because disclosure of even the total number of rows in the spreadsheet could
  inform competitors of specific advertising numbers, LinkedIn respectfully requests that the entire
  document be redacted or sealed. With respect to DTX 1991, LinkedIn respectfully requests that
  the three specific references to LinkedIn’s advertiser spending be redacted, which reflect total
  revenue numbers that are derived directly from DTX 2221.


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         The following chart details the specific document at issue and the competitively sensitive

  information contained therein:

       Exhibit             Document               Portion        Reason(s) for redaction/sealing
    Number (Bates)         description         sought to be                  request
                                                 redacted
   DTX 2221            LinkedIn Revenues      Fully Redact     Discloses specific revenue derived
                       Derived from the       or Seal          by LinkedIn from advertising
   (LI_DOJ_G_202       Advertising, 2020-     Entirety of      including gross revenue and net
   3_00003515)
                       2023.                  Data Set.        revenue. This non-public,
                                                               proprietary, and highly confidential
                                                               financial information could be used
                                                               by competitors to calculate the
                                                               volume of LinkedIn’s advertising
                                                               transactions and its advertising
                                                               revenue, which would cause
                                                               competitive harm.

   DTX 1991            Israel Report Table    Redact           Discloses specific LinkedIn
                       24: Shares Among       References to    revenue derived from DTX 2221.
                       Advertiser Buying      LinkedIn         This non-public, proprietary, and
                       Tools, Ad              “spending”       highly confidential financial
                       Exchanges, and         numbers.         information could be used by
                       Publisher Ad                            competitors to obtain LinkedIn’s
                       Servers for All U.S.                    advertising revenue, which would
                       Display Advertising                     cause competitive harm.
                       2022.


         For the foregoing reasons, LinkedIn respectfully requests that the Court enter an order fully

  redacting or sealing DTX 2221 and redacting DTX 1991. LinkedIn further requests that, to the

  extent DTX 2221 or DTX 1991 are presented at trial, the competitively sensitive and highly

  confidential LinkedIn data not be shown on public screens and that any testimony discussing or

  relating to the underlying data be conducted in closed session.



   Dated: July 26, 2024                       Respectfully submitted,
                                              s/ John (Jay) Jurata, Jr.
                                              John (Jay) Jurata, Jr. (VA Bar No. 46314)
                                              DECHERT LLP


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